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                                                                LICENSE No. VENEZUELA-EO13850-2020-367941-1

                                       VENEZUELA SANCTIONS REGULATIONS

                                                                 LICENSE
Issued under the authority of one or more of 50 U.S.C. §§ 1601-51, 1701-06, Pub. L. 113-278, Executive Orders 13692, 13808,
                          13827, 13835, 13850, 13857, and 13884 and 31 C.F.R. Parts 501 and 591.

 To:   Fisher Island Condominium Association, Inc.
       c/o Ferrari & Associates, P.C.
       1455 Pennsylvania Ave., N.W.
       Suite 400
       Washington, D.C. 20004
 Attn: Peter Kucik


 1. Based upon your request dated July 7, 2020 to the Office of Foreign Assets Control (the “Application”),
 and information otherwise available to the Office of Foreign Assets Control, the transactions described
 herein are hereby authorized.

 2. This License is subject to the condition, among others, that the Licensee complies with its terms and
 with all regulations, rulings, orders, and instructions issued under one or more of the authorities cited above.

 3. This License expires on the earlier of the completion of the authorized transaction or on May 31,
 2023, and is not transferable. The transactions described in this License are subject to the authorities cited
 above and any regulations and rulings issued pursuant thereto. This License may be revoked or modified
 at any time. If this License was issued as a result of willful misrepresentation it may be declared void from
 the date of its issuance or from any other date.

 4. This License does not authorize transactions prohibited under any law or regulation (including reporting
 requirements) administered by the Office of Foreign Assets Control other than those listed above.

 5. This License does not excuse the Licensee from the need to comply with any law or regulation
 (including reporting requirements) administered by any other agency or the need to obtain any required
 authorization(s) from any other agency.

           Issued on behalf of the Secretary of the Treasury:

                                                   OFFICE OF FOREIGN ASSETS CONTROL


                                                   By__________________________________
                                                     ___________
                                                              _ ____
                                                                   ___________________
                                                                   ____                                                  May 17, 2021
                                                     Mary Patricia
                                                          Patricia Rasmussen                                               Date
                                                     Deputy
                                                     Dep                          Licensing
                                                         t Assistant Director for Licen
 Attention is directed to, inter alia, 18 U.S.C. §§ 1001, 50 U.S.C. § 1705, and Pub. L. 113-278, § 5(b)(2) for provisions relating to penalties.
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 SECTION I – AUTHORIZATION Subject to the conditions and limitations stated herein, Palazzo Del
 Sol/Della Luna at Fisher Island Condominium Association, Inc. (the “Licensees”) are hereby authorized
 to engage in all transactions necessary to collection efforts against 7043 Fisher Drive, Unit 7043, Miami
 Beach, Florida 33109, a unit owned by Planet 2 Reaching Inc. and linked to Raul Gorrin Belisario,
 including filing an in rem action for lien foreclosure, seeking as remedy the judicial sale of unit 7043 in
 order to satisfy those amounts due and payable to the Licensees, as described in the Application.

 SECTION II – WARNINGS: (a) Except as authorized in Section I, nothing in this License authorizes
 the transfer of any blocked property, the debiting of any blocked account, the entry of any judgment or
 order that effects a transfer of blocked property, or the execution of any judgment against property which
 is blocked pursuant to any Executive order, statute, or Chapter V of Title 31 of the C.F.R.

 (b) Except as authorized in Section I, nothing in this License authorizes the transfer to, or receipt of
 funds or other property from, directly or indirectly, any entity or individual whose property or interests
 in property are blocked pursuant to any Executive order, statute, or Chapter V of Title 31 of the C.F.R.

 (c) This License does not authorize transactions that occurred prior to its issuance.

 (d) Any transfer of funds through the U.S. financial system pursuant to the authorization set forth above
 should reference the number of this License to avoid the rejection of the transfer.

 SECTION III – RECORDKEEPING & REPORTING REQUIREMENTS: The Licensees are
 subject to the recordkeeping and reporting requirements of, inter alia, 31 C.F.R. §§ 501.601 and 501.602,
 including the requirement to maintain full and accurate records concerning the transactions undertaken
 pursuant to this License for a period of five years from the date of each transaction.

 SECTION III – PRECEDENTIAL EFFECT: The authorization contained in this License is limited
 to the facts and circumstances specific to the Application.
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